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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


UNITED STATES OF AMERICA             )
                                     )
                                     )
                                     )
v.                                   )      CRIMINAL NO. 05-105-P-H-02 & 03
                                     )
DEANNA SYBAL AND                     )
DENNIS WESTLEIGH,                    )
                                     )
                  DEFENDANTS         )


              ORDER ON DEFENDANTS’ MOTION TO DISMISS


      I granted the government’s motion for a mistrial over the two defendants’

objection after the jury was unable to reach a verdict. The government proposes

to retry the defendants. The defendants have moved to dismiss the case against

them on the basis of double jeopardy. Their motions are DENIED.

      This was a straightforward drug conspiracy case. Law enforcement officers

could not provide direct evidence of the defendants’ involvement. Direct evidence

came only from co-conspirators who had agreed to cooperate with the

government. The clear issue, therefore, was credibility of this testimony. Neither

defendant took the witness stand.

      The trial lasted about 22 hours. There were 63 exhibits, consisting of

drugs, photographs, wire transfer documents, phone bills, employment records,

prison records, personal property seized by the police, and plea/immunity
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agreements. After approximately nine and one-half hours of deliberation, the

jury sent out a note stating: “Dear Judge Hornby, We are unable to reach a

unanimous decision after giving the case our most thorough consideration.

Please advise.” With the agreement of all counsel, I then gave a modified Allen1

charge and sent the jury back to deliberate further.                About four and one-half

hours after first announcing deadlock, the jury sent out another deadlock note

stating: “Dear Judge Hornby, We continue to be unable to reach a unanimous

decision on this case.”2 Just over half an hour later, while I was still conferring

with the lawyers in the presence of the defendants about the proper response to

this second note of deadlock (the alternatives being discussed included telling the

jury to return the next day to deliberate; declaring a mistrial; repeating the

modified Allen charge; asking the jury if additional time would help reach a

verdict), the jury officer brought out still another note. It said: “Dear Judge

Hornby, I have a concern that one of the jurors is biased against witnesses who

have signed plea agreements. Her treatment of them is prejudicial.” This note

actually was signed individually by eight of the jurors. After hearing from the

lawyers and with their agreement, I next sent a note to the jury asking if the jury

could reach a unanimous verdict on either defendant and if more time would


1 Allen v. United States, 164 U.S. 492 (1896).
2 In the meantime, still another note came from the jury signed by two jurors individually, asking:
 “Can a witness’ testimony be considered credible or uncredible [sic] based solely on the fact that
the witness s igned a plea agreement with the government?” I was concerned that two jurors had
(continued on next page)

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assist the jury in reaching a decision. Before that note went to the jury, the

government had stated that it would request a mistrial if the jury answered “no”

to both questions.       The jury did respond “no” to both questions, and the

government then did move for a mistrial. When I asked the defendants’ positions,

I received single-sentence objections from both lawyers. I granted the motion over

the defendants’ objections, and gave a lengthy explanation for my ruling. At the

end, I asked the lawyers: “Anything else before the jury [returns]?” All replied

“no.” The jury then had been deliberating a total of about 15 hours.

       The First Circuit has recently articulated the applicable law. If a mistrial is

caused by “manifest necessity,” double jeopardy does not prevent retrial. U.S. v.

Brown, 426 F.3d 32, 36 (1st Cir. 2005). The determination of manifest necessity

is a matter of discretion for the trial court. Id. Three factors are “particularly

relevant”:

                (1) whether the court provided counsel an opportunity to
                be heard;
                (2) whether the court considered alternatives to a
                mistrial; and
                (3) whether the court’s decision was made after adequate
                reflection.

Id. at 36-37.




signed the note, not the normal routine.

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       On factor (1), the transcript makes undeniably clear that I heard counsel

fully on each of the deadlock notes.3 I also allowed them time to consult privately

with their clients. Although the defendants’ lawyers had little to say when the

government did finally move for a mistrial, that was undoubtedly because by then

everyone already knew and had discussed the options, the law, and the

consequences.

       On factor (3), I as trial judge started reflecting about what to do as soon as

the first note concerning deadlock came out a little after 11:30 a.m. Although I

gave the modified Allen charge, I am painfully aware from past experiences that

the Allen charge often does not alter a deadlock. I was therefore paying close

attention to the time lapse thereafter, reviewing my notes about the evidence and

the length of the trial, and paying particular attention to the tenor of any

additional jury notes.       More “reflection” would not have yielded additional

insights. By the time I granted the motion for mistrial, I had been reflecting upon

the deadlock for approximately six hours.

       As to factor (2), I considered all the available alternatives. After the second

deadlock note, I did discuss with the lawyers the danger of telling the jury to

continue deliberating, pointing out that the caselaw suggests that a second Allen

charge is not recommended.            But I had not made up my mind, and was



3There were also other jury notes, asking to see the drugs, and asking the meaning of a plea
agreement and proffers and any connection between the two.

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continuing to consider all the options that the lawyers had suggested. In the

midst of that discussion, when I received the n ote signed by eight jurors implying

that the vote was 11 to 1 for conviction, that one juror was taking the position that

she would believe no witness who signed a plea agreement, and that at least eight

of the remaining jurors were hostile to her position, I became very concerned that

requiring continued deliberations would produce coercion of that juror, and that

a resulting verdict, if guilty, would be subject to attack on appeal or by collateral

attack. I sent the jury one more note, by agreement, asking if more time would

help or if the jury could agree as to either defendant. The jury responded “no” to

both.    At that point, no more was necessary.       The lawyers and I had fully

discussed the available options. Telling the jury then to come back for another

day of deliberations (as requested by the defendants) would probably have been

clear error.   Although the defendants’ lawyers had abundant opportunity to

inform me of any other alternatives, they presented only the ones I have

summarized, and I considered them all.

        Manifest necessity caused the declaration of mistrial. The motions to

dismiss by both defendants are therefore DENIED.

        SO ORDERED.

        DATED THIS 3RD DAY OF JANUARY, 2007

                                              /S/D. BROCK HORNBY
                                              D. B ROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE


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U.S. DISTRICT COURT
DISTRICT OF M AINE (P ORTLAND)
CRIMINAL DOCKET FOR CASE #: 2:05CR 105




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V.


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